Case 1:04-cv-01267-.]DT-tmp Document 41 Filed 08/15/05 Page 1 of 5 Page|D 47

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

ROGER D. RILEY,
PLAINTIFF,

VS. NO. 1-04-1267-T-P
WAL-MART STORE #335, WAL-MART
ASSOCIATES, INC., WAL-MART

STORES, INC., WAL-MART STORES
EAST, INC., A&M cLEANING

PRODUCTS, INC., BIo-LAB, INC.,
Individually and as Owner of

A&M CLEANING PRODUCTS, INC.,
BIo-LAB, INC., as a wholly-

Owned subsidiary of GREAT LAKES
CHEMICAL CORI-?ORATION,r GREAT LAKES
CHEMICAL CORPORATION, Individually
AUTOMATED PACKAGING SYSTEMS, INC.,
AUTOMATED PACKAGING SYSTEMS
SOUTHEAST, LLC, CKS PACKAGING,
INC., and PACKAGE SUPPLY &
EQUIPMENT CO., INC.,

 

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DEFENDANTS.

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE OF
DEFENDANT AUTOMATED PACKAGING SYSTEMS, INC. ONLY

 

It appearing' to the Court that at the telephonic Status
Conference held in this case on August 11, 2005 by Magistrate
Judge Tu M. Pham, that Plaintiff advised the Court that
Plaintiff consented to the entry by the Court of an Order of
Dismissal with Prejudice of Defendant Automated Packaging

Systems, Inc.;

§Hj

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This document entered on the docket sheet ln compliance

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Case 1:04-cv-01267-.]DT-tmp Document 41 Filed 08/15/05 Page 2 of 5 Page|D 48
It is hereby Ordered that Defendant Autcmated Packaging
Systems, Inc. be, and is hereby,

dismissed with prejudice from

this acticn.

A-M

 

 

U. DISTRICT coURT JUDGE
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DATE "
APPROVED:
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BY: C:wAII;§¥$dL_CBTT;SQLBA¢“U cul$mnvmaalnu
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CERTIFICATE OF SERVICE

I hereby certify that I have forwarded a copy of the
foregoing to the following, via U.S. mail, postage prepaid, this
day of August, 2005:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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